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         Exhibit 36
6/16/2017                        BPCA fails to mention $7.5 million budget item during public meeting | BatteryPark.TV We Inform
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    BPCA fails to mention $7.5 million budget item during public meeting
    Posted on October 10, 2014 by Editor

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                                                                        SHoP Architects drawings




    June 21, 2014­ By Steven E. Greer

    The controversial West Thames pedestrian bridge project is a proposed $30 Million bridge to span the West Side
    Highway. That number was determined even before plans were drawn up, so the final bridge, if built, will be
    reverse engineered to make sure that the money budgeted is spent (i.e. this is a pork project).

    Some have nicknamed the bridge as Speaker Silver’s Bridge, because he, along with former Mayor Bloomberg,
    have championed to project. Mr. Silver claims to have won the cooperation from the LMDC to pitch in $20 Million
    of the $30­some million, and the BPCA would have to pitch in $7 to $10 Million more to build the questionably
    needed bridge.

    The bridge project stalled when the city refused to accept the responsibly for cost overruns, and the BPCA did not
    want to assume the responsibility either. The BPCA agreed to spend only $2 Million for initial designs of the
    bridge, and the $7.5 Million tranche from the BPCA was in limbo.

    At the October 22, 2013 BPCA board meeting, the F2014 proposed budget was discussed in detail. There was no
    mention of the $7.5 Million for the West Thames bridge.

    BPCA obtained the F2014 budget documents that were discussed at the October 22nd meeting. In fact, the budget,
    which was drafted on October 10, 2013, before the board meeting, did indeed have a $7.5 Million line­item for the
    bridge, despite there being no mention of it during the public meeting.




http://batterypark.tv/real­estate/bpca­fails­to­mention­7­5­million­budget­item­during­public­meeting.html                         1/2
6/16/2017                        BPCA fails to mention $7.5 million budget item during public meeting | BatteryPark.TV We Inform
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    Therefore, yet again, an important construction project managed by the BPCA seems to have been approved in
    secrecy, violating the state open meeting laws. Recall, the entire RFP process that resulted in the awarding of
    operations of Pier­A to the Poulakakos family was never discussed in public session.

    The status of the West Thames bridge, and other infrastructure projects budgeted for 2014, are unclear. The
    bridge has not been discussed in open session of a BPCA board meeting for more than 6­months. Also, the new
    fencing for the West Thames grass field, repairs to the Irish Memorial, creation of a River Terrace crosswalk,
    repair of the police memorial, Wagner Park restrooms, and other programs have not begun construction.




    This entry was posted in ­ City government, ­ Downtown oversight, ­ Real estate, ­ State Government, Battery Park City and BPCA, Parks. Bookmark the permalink.




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